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C. P '\TTE, NE§

3 _` hi 1 wm IN THE UNITED STATES DISTRICT COURT FOR Tl-IE
mr “ -

. _, WESTERN DISTRICT OF NORTH CAROLINA

'- ‘»»'iSii"°t C°“'t CHARLOTTE DIVISION
C{N€'=ai.ui\*i Di$trict Of NC

UNITED STATES OEAMERICA

DOCKET NO. 3:16-CR-200
V. NOTICE OF MOTION
PRE-TRIAL

Floyd, Billy Darryl Natural Person
dba. BILLY DARRYL FLOYD
Defendant

`/\/\-/\/\/\/V\./

 

. MOT|ON CRDERlNG PRESENCE OF PLAlNTlFF

| F|oyd, Biliy Darry|, a man, require the plaintiff appear in court for the trial proceedings.

l offer remedy to all verified claims.

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WiTl-lour rHE ur\'uTED §TATES
F|oyd, Biliy Darry|

Case 3:16-cr-00200-I\/|OC-DSC Document 107 Filed 10/11/17 Page 1 of 2

 

Notice of Appearance : Bi||y Darry| F|oyd Beneticial Owner 1 st Lien Hoider of FLOYD, B|LLY
DARRYL Estate d/b/a B|LLY DARRYL FLOYD©®TM

CERTIFICATE OF SERVICE
I, Billy Darryl Floyd natural person for BILLY DARRYL FLOYD, is to certify that I have this

day served the person listed below With this NOTICE OF PRE-TRIAL MOTION : by

g §§E 5 Delivery thereon to ensure delivery: Dated this l 5+ day of f 2 C;LQ§;&E ,
2017

UNITED STATES PROSECUTOR
Gregory Bailey

601 D StreetNW STE 7919
WASHINGTON, DC 20004

CLERK OF COURT
Frank G Johns

401 W Trade St, an 210
Charlotte, NC 28202

%'/W¢ 696

Billy Darryl Floyd, registered Owner

of FLOYD, BILLY DARRYL corp. sole
Dba BILLY DARRYL FLOYD

c/o P.O. BOX 1225

Indian Trail [North Carolina] state Republic
Near; [28079]

CaSe 3:16-cr-OO200-I\/|OC-DSC Document 107 Filed 10/11/17 Page 2 of 2

 

 

